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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


JASON RATCLIFF, et al.,                :
                                       :   NO. 1:05-CV-00582
     Plaintiffs,                       :
                                       :   OPINION AND ORDER
                                       :
    v.                                 :
                                       :
                                       :
ERNIE MOORE, et al.,                   :
                                       :
     Defendants.                       :


             This matter is before the Court on the Magistrate Judge’s

April 2, 2010 Report and Recommendation (doc. 218), Plaintiff’s

Objections (doc. 224), and Defendants’ Response (doc. 219).                  For

the reasons stated herein, the Court AFFIRMS and ADOPTS the Report

and Recommendation (doc. 218) and GRANTS Defendants’ Motion for

Summary Judgement (doc. 207).

I. Background

             Plaintiffs Jason Ratcliff, Darryl Blankenship1, Jason

Hysell, Chris Roy, and Jeff Weisheit, prisoners in the custody of

the Ohio Department of Rehabilitation and Correction (“ODRC”),

filed this action pursuant to 42 U.S.C. § 1983, alleging, inter

alia, a failure to accommodate their Asatru religious practices and


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        The Court notes that Plaintiff Darryl Blankenship’s
religious name is Alfar Kynwulf and that he periodically uses
that name in his court correspondence. However, for the sake of
continuity and to avoid confusion, the Court will continue to
refer to Mr. Kynwulf as “Plaintiff Blankenship” or simply
“Plaintiff” throughout this order.
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challenging the constitutionality of the ODRC’s policy regarding

excess legal materials.           Plaintiffs sought declatory judgment,

injunctive relief, and monetary recovery (doc. 1).

            On April 24, 2009, this Court granted Defendants’ motion

to dismiss Plaintiffs’ claims for injunctive and declaratory relief

concerning religious accommodation; stayed a determination of

damages     pending     the     resolution     of    Plaintiffs’      religious

accommodation claims in         Miller, et al. V. Wilkinson, et al., Case

No. 2:98-cv-275, an earlier-filed class action lawsuit then pending

in the Eastern Division of this United States District Court;

dismissed Plaintiffs’ non-religious accommodations claims pursuant

to Fed. R. Civ. P. 12(b)(6); denied Plaintiffs’ motion to appoint

counsel    and   to   certify    class;   denied    Plaintiff    Blankenship’s

motions for preliminary injunction and partial summary judgement on

the access to legal materials claim and Plaintiffs’ motions for

partial summary judgement on the religious name change and work

proscription and “unauthorized group activity” claims; denied Brian

Timms’ motions to join; and granted Defendants’ motion for partial

summary judgement on Plaintiff Blankenship’s denial of exercise

claim (doc. 206).        As a result of the Court’s April 24, 2009,

Opinion and Order, only two issues remained alive in this case:

Plaintiff Blankenship’s claim of denial of access to the courts due

to an allegedly unconstitutional ODRC policy regarding excess legal

materials and a determination of damages pending the resolution of


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Plaintiffs’ religious accommodation claims in               Miller.

            On April 27, 2009, Defendants moved for summary judgement

on Plaintiff Blankenship’s access to legal materials claim (doc.

207); Blankenship responded (doc. 210); and Defendants replied

(doc.    214).      The    Magistrate     Judge    issued    his     Report   and

Recommendation regarding Defendants’ motion for summary judgement

on the legal materials claim, recommending that Defendants’ motion

be granted and the case dismissed (doc. 218).             Plaintiff filed his

objections     to   the   Report   and   Recommendation,       and    Defendants

responded to Plaintiff’s objections; the matter is therefore ripe

for the Court’s consideration.

II.         The Magistrate Judge’s Report and Recommendation & the
            Parties’ Responses

            The Magistrate Judge correctly observed that in order to

succeed on a claim alleging a violation of his constitutional right

to access to courts, Plaintiff Blankenship must demonstrate an

actual injury (doc. 218, citing Lewis v. Casey, 518 U.S. 343, 350-

52 (1996)).      The Magistrate Judge then noted that the Court had

already determined in its April 24, 2009 Opinion that Plaintiff

Blankenship had failed to demonstrate that he was actually injured

by Defendants’ excess materials policy (doc. 218, citing doc. 206).

Even if Plaintiff Blankenship had established that he had suffered

an actual injury and that he had a constitutional right to have

access to his legal materials in excess of the 2.4 cubic foot in-

cell locker box storage limit, the Magistrate Judge found that the

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ODRC’s regulations regarding the storage limit were reasonably

related to a legitimate penological interest (Id., citing Lewis,

518 U.S. at 361).       Consequently, the Magistrate Judge recommended

that Defendants’ Motion for Summary Judgement be granted because

Plaintiff Blankenship failed to demonstrate that a genuine issue of

fact exists with respect to his access to legal materials claim

(Id.).

            Plaintiff Blankenship raises three objections to the

Magistrate Judge’s report: first, he notes that the Magistrate

Judge failed to address the outstanding damages issue and spoke

only to the access to legal materials claim; second, he claims that

there    are      “pending     claims      of   establishing     religion      and

unconstitutional gang...policies”; and third, he notes that he was

re-incarcerated on February 23, 2010, so his claim regarding access

to legal materials is not moot (doc. 219).

            In     response,     Defendants      observe     that     Plaintiff’s

objections do not address either of the bases for the Magistrate

Judge’s decision and that, instead, Plaintiff’s “objections” are

merely attempts to re-litigate matters decided by the Court in its

April 2009 order (doc. 224).

III.        Discussion

            The    Court     finds   the    Magistrate     Judge’s    Report   and

Recommendation to be well-reasoned and correct.                     Plaintiff has

failed to show that he suffered an actual injury as a result of the


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ODRC’s policy not allowing him to store in his cell legal materials

in excess of the 2.4 cubic foot in-cell locker box storage limit.

As this Court found in April 2009 when deciding that Plaintiff was

not entitled to summary judgement on this claim, Plaintiff failed

to demonstrate injury here because he is allowed access to his

legal locker box and his cell locker box whenever necessary for

litigation     (doc.   206,      citing    doc.    181).     Moreover,   because

Plaintiff was represented by counsel in the other two lawsuits in

which he was involved, his ability to pursue litigation was not

hindered by his limited access to in-cell storage of his litigation

materials (Id.).       Finally, because it is against ODRC policy to

possess the legal materials of another inmate, Plaintiff was not

injured by his inability to possess another inmate’s materials in

excess of his permitted in-cell legal materials (Id.). In response

to Defendants’ motion for summary judgement, Plaintiff did not

present any evidence showing that a genuine issue of fact exists

with respect to whether he suffered actual injury as a result of

the storage-limit policy. Consequently, Defendants are entitled to

summary judgement on this claim.                See, e.g., Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 247-48 (1986).

             Plaintiff’s objections are, as Defendants note, not

actually     objections     to     the     Magistrate      Judge’s   report   and

recommendation regarding Defendants’ motion for summary judgement.

The Court will nonetheless address each in turn.               First, Plaintiff


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is     correct     that      the    issue    of   damages       on   his   religious

accommodations claims was not dismissed by the Court in its April

2009 Opinion and Order but was, instead, stayed pending the outcome

in Miller.       Therefore, closing this case at this juncture is not

appropriate, as that stay has not been lifted.

               However, Plaintiff is not correct in his contention that

there     are     “pending         claims    of   establishing       religion     and

unconstitutional          gang...policies.”          All   of    Plaintiffs’     non-

religious-accommodations claims were dismissed by this Court in its

April 2009 Opinion and Order, which adopted the Magistrate Judge’s

October 1, 2008 Report and Recommendation in its entirety (doc.

206,     dismissing,         inter      alia,     “Plaintiffs’          non-religious

accommodations claims pursuant to Fed. R. Civ. P. 12(b)(6)”). That

dismissal expressly addressed and dismissed Plaintiffs’ claim that

the ODRC unconstitutionally established Abrahamic religions as

favored or preferred religions over non-Abrahamic religions such as

Asatru    as     well   as   the    claims    that   ODRC’s     rules    and   polices

prohibiting “unauthorized group activity” are selectively enforced

against white inmates to suppress and punish disfavored racial,

religious and politic beliefs and that the ODRC’s Security Threat

Group designations violate the Constitution (docs. 174, 206).                     The

only claim that survived the Court’s April 2009 Opinion and Order

was the claim regarding access to legal materials, and, as noted

above, the Court stayed the issue of damages pending the outcome of


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Miller.    Consequently, Plaintiff Blankenship’s second objection to

the Magistrate Judge’s Report and Recommendation is without merit.

            Finally, Plaintiff’s third objection, that his legal

access claim is not moot because he is re-incarcerated, is well-

taken but irrelevant because the Court did not base its opinion on

his claim being moot.

IV. Conclusion

            Having reviewed this matter de novo pursuant to 28 U.S.C.

636(b), the Court ADOPTS and AFFIRMS the Magistrate Judge’s Report

and Recommendation (doc. 218) to the extent it recommends granting

Defendants’ Motion for Summary Judgement on Plaintiff Blankenship’s

Injunctive and Declaratory Claim for In-Cell Possession of Legal

Materials (doc. 207), and the Court thus GRANTS that motion (doc.

207).    The Court DECLINES to issue a certificate of appealability

because the Court does not find that Plaintiff has demonstrated

“that the issues are debatable among jurists of reason; that a

court could resolve the issues [in a different manner]; or that the

questions    are   ‘adequate     to   deserve    encouragement      to   proceed

further.’” Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)

(internal quotations omitted). Pursuant to 28 U.S.C. § 1915(a)(3),

the Court CERTIFIES that any appeal of this Opinion and Order will

not be taken in good faith, and any application to appeal in forma

pauperis will be denied.

            However, the Court does not find that closing this matter


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is appropriate at this stage because the stay on Plaintiffs’

damages pending the outcome of Miller has yet to be lifted and that

issue has yet to be definitively disposed of.

            SO ORDERED.


Dated: November 5, 2010              /s S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge




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